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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRIC'I` OF FLORIDA

TAMPA DIVISION
In re:: Chapter 7
GEORGE DOMNING and CASE NO. 8:18-bk-01573-RCT
JOAN DOMNING,
Debtors. l

 

APPLICATION TO EMPLOY REAL ESTATE MANAGEMEN'I` COMPANY,
RETROACTIVE TO FEBRUARY 28, 2018

Dawn A. Carapella, Chapter 7 Trustee, for the Estate of George Domning and Joan
Domning, files this Application to Real Estate Management Company Retroactive to February 28,
2018, and states:

l. On February 28, 2018, the Debtors, George Domning and Joan Domning, filed a
voluntary petition for relief under Chapter 7 of the Bankruptcy Code.

2. I am the duly appointed, qualified and acting Trustee for this estate.

3. The assets of the estate include rental income derived from surrendered real property
located at 1334 Autumn Breeze Circle, Gulf Breeze, PL 32563 (the “Residence”).

4. Pre-petition, on April ll, 2017, the Debtors leased the Residence to a tenant for a
period of two years, pursuant to written Leases. True and correct copies of the Leases are attached
hereto.

5. Pre-petition, in February 17, 2017, the Debtors entered into a management
agreement with Beverly Johanson and Real Estate House, Inc. (together, “Real Estate House”),
pursuant to which Real Estate House maintained and leased the Residence on behalf of the Debtors.

6. Aiier the Petition Date, Real Estate House collected rent from the tenants living at
the Residence without knowledge of the pending bankruptcy case. Specifically, Real Estate House

collected rent in the amount of $2,000.00 on March l, 2018 and $2,000.00 on April 2, 2018. Real

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Estate House will tile an application for payment of administrative expenses for its management fee
of $400.00 for post-petition services provided in March and April 2018.

7. Based upon the supporting Af`iidavit attached hereto, Real Estate I-Iouse is a
disinterested person within the meaning of ll.U.S.C. §101(14), approval of this Application is in
the best interest of the estate and accordingly, it is appropriate to employ Real Estate House in
accordance with to ll U.S.C. §327(a).

8. Real Estate House is aware of the provisions of ll U.S.C §328 and has agreed,
notwithstanding the terms and conditions of employment set fonh, that the Court may allow
compensation different from the compensation provided herein if such terms and conditions prove
to have been improvident in light of developments unable to be anticipated at the time of fixing of
such terms and conditions.

WHEREFORE, the Trustee respectfully requests that this Application be approved and that
the Trustee be authorized to employ Real Estate House as the Trustee’s real estate management
company on the terms and conditions contained in the Application.

CERTIFICATE OF SERVICE
l HEREBY CERTlFY that on May 8, 2018 a true and correct copy of the foregoing

Application has been provided by electronic system or U.S. Mail to Debtors: George, Domning and
Joan, Domning, 4906 W. Cleveland St., Tampa, FL 33609; Debtors’ Counsel: Christopher F.
Ikerd, Esq., Suncoast Law Group, PLLC 3000 Gulf to Bay Blvd., Suite 306 Clearwater, FL 33759;
Office of the United States Trustee at USTPRegionZl.TP@USDOJ.GOV; and Beverly Johanson,
Real Estate House, lnc., 3254 Fordham Parkway, gulf Breeze, FL 32563.

/s/ Dawn A. Carat)ella

DAWN A. CARAPELLA

Chapter 7 Trustee

P.O. Box 67

Valrico, FL 33595-0067
Dcara ellatrustee mail.com

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ln re:: Chapter 7
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JOAN DOMNING,

Debtors.

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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

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DECLARATlON OF PROPOSED REAL ESTATE PROPERTY MLNAGER

I, Beverly Johanson, declare under penalty of perjury pursuant to the pro

U.S.C. Section 1746, that the following statements are true and correct.

1.

2.

l am a licensed real estate broker/realtor with The Real Estate House
My real estate office is located in Gulf Breeze, Florida.

I have extensive experience in managing residential real estate in the
the subject real property is located.

I will render services, subject to the Court’s approval and appointmel

Trustee in the above-styled case.

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lnc.
area in which

it, for the

1 have not and will not agree to share my compensation for said serv+as with any

person.

Neither I nor any other agent with The Real Estate House, Inc. is a cr
holder or insider and have not within 2 years been a director, officer 1
the debtor, except that alter the Petition Date, Real Estate House coil
the tenants living at the Residence without knowledge of the pending

case. Speciiically, Real Estate House collected rent in the amount of

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bankruptcy

$2,000.00 on

March l, 2018 and $2,000.00 on April 2, 2018. Real Estate House will file an

 

 

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application for payment of administrative expenses for its managem nt fee of $400.00
for post-petition services provided in March and April 2018.
7. Neither l nor any agent with The Real Estate House, lnc. have any in terest materially
adverse to interest of thc estate or any class of creditors or security h lders, by reason
of direct or indirect relationship to, connection with, or interest in, debtor, or for
any other reason.
8. Neither I nor any other agent with The Real Estate House, Inc. have any connections
with the Debtors, creditors, or any other party in interest, their respec tive attorneys or
professionals, the United States Trustee, or any other person employed in the Ot`fice
of the United States Trustee, except as set forth below:
a. Prior to the filing of the above-captioned bankruptcy case, G<'orge Domning
and Joan Domning entered into a management agreement with The Real
Estate House for the management of the Residence.
b. I reviewed the creditor matrix for this case, Certain entities spheduled as

creditors in this case may be creditors of mine.

Signed under penalty of perjury on j 1251 Q.O/X .

By: L'&d¢e¢,\» C}.Mpr~/
BeverlHohahson
Broker/Realtor
The Real Estate House
3254 Fordham Parkway
Gulf Breeze, FL 32563

 

 

